        Case 2:05-cr-00113-WBS Document 274 Filed 05/11/10 Page 1 of 4


                       RECOMMENDATION TERMINATING
                SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA                     )
                                             )
                             vs.             )       Docket Number: 2:05CR00113-07
                                             )
Raquel Montanez ALCAZAR                      )
                                             )




LEGAL HISTORY:

On April 11, 2006, the above-named was sentenced to 48 months custody in the Bureau
of Prisons to be followed by a term of Supervised Release for a period of 3 years, which
commenced on March 24, 2008. Special conditions included: Warrantless search;
Drug/alcohol treatment program/testing; Co-payment plan for treatment/testing; Register
as a drug offender.


SUMMARY OF COMPLIANCE:

Ms. Alcazar has complied with all conditions and special conditions of Supervised Release
and has not been involved in any further criminal activities. It is the opinion of the probation
officer that Ms. Alcazar has derived maximum benefit from supervision and is not in need
of continued supervision.




                                                                                         Rev. 04/2007
                                                 1          EARLY TERMINATION ~ RECOMMENDATION.MRG
          Case 2:05-cr-00113-WBS Document 274 Filed 05/11/10 Page 2 of 4


RE:      Raquel Montanez ALCAZAR
         Docket Number: 2:05CR00113-07
         RECOMMENDATION TERMINATING
         SUPERVISED RELEASE PRIOR TO EXPIRATION DATE



RECOMMENDATION:

It is, therefore, respectfully recommended that Supervised Release in this case be
terminated early.

                                        Respectfully submitted,


                                       /s/ Wendy E. Reyes
                                        WENDY E. REYES
                                  United States Probation Officer



Dated:           March 30, 2010
                 Elk Grove, California
                 WER/cj



REVIEWED BY:               /s/ Deborah A. Spencer
                         DEBORAH A. SPENCER
                         Supervising United States Probation Officer



cc:      AUSA, Mary L. Grad (Pursuant to Rule 32, notice of proposed relief to the supervisee is being
         provided. If no objection is received from you within 14 days, the probation officer's Recommendation
         and Prob 35-Order Terminating Supervised Release Prior to Expiration Date, will be submitted to the
         Court for approval.)




                                                                                                  Rev. 04/2007
                                                      2              EARLY TERMINATION ~ RECOMMENDATION.MRG
          Case 2:05-cr-00113-WBS Document 274 Filed 05/11/10 Page 3 of 4


PROB 35            ORDER TERMINATING SUPERVISED RELEASE
                         PRIOR TO EXPIRATION DATE


                         UNITED STATES DISTRICT COURT
                                   FOR THE
                        EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                       )
                                               )
                          vs.                  )     Docket Number: 2:05CR00113-07
                                               )
Raquel Montanez ALCAZAR                        )
                                               )


On March 24, 2008, the above-named was placed on Supervised Release for a period of 3
years. She has complied with the rules and regulations of supervision. It is accordingly
recommended that she be discharged from supervision.

                                 Respectfully submitted,


                                 /s/ Wendy E. Reyes
                                  WENDY E. REYES
                            United States Probation Officer



Dated:       March 30, 2010
             Elk Grove, California
             WER/cj


REVIEWED BY:       /s/ Deborah A. Spencer
                   DEBORAH A. SPENCER
                   Supervising United States Probation Officer




                                                                                       Rev. 05/2006
                                           3               EARLY TERMINATION ~ ORDER (PROB35).MRG
          Case 2:05-cr-00113-WBS Document 274 Filed 05/11/10 Page 4 of 4


RE:   Raquel Montanez ALCAZAR
      Docket Number: 2:05CR00113-07
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                      ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.

May 11, 2010
Date                                            Lawrence K. Karlton
                                                Senior United States District Judge

WER/cj

Attachment: Recommendation

cc: United States Attorney's Office




                                                                                        Rev. 05/2006
                                            4               EARLY TERMINATION ~ ORDER (PROB35).MRG
